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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     OMAR VERA
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO AUGUST 25,
12           v.                                     )   2016, AT 10:00 A.M.
                                                    )
13   OMAR VERA AND                                  )   Date: July 28, 2016
     EDUARDO REYES,                                 )   Time: 10:00 a.m.
14                                                  )   Judge: Hon. Morrison C. England, Jr.
                                Defendants.         )
15                                                  )
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17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for July 28, 2016, at 10:00 a.m., to August 25, 2016, at 10:00 a.m.
19             Defense counsel requires the continuance to consult with their clients about discovery
20   and proposed plea agreements, to meet and confer, and to negotiate further with the government.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through August 25, 2016, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
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      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4    DATED: July 27, 2016                           HEATHER E. WILLIAMS
                                                    Federal Defender
5
6                                                   /s/ M.Petrik__________
                                                    MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: July 27, 2016                           /s/ M.Petrik for_______
10                                                  JESSE ORTIZ
                                                    Attorney for Mr. Reyes
11
12   DATED: July 27, 2016                           PHILLIP A. TALBERT
                                                    Acting United States Attorney
13
                                                    /s/ M.Petrik for_______
14
                                                    JASON HITT
15                                                  Assistant U.S. Attorney

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      Stipulation to Continue                         -2-                                           13-53 MCE
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1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation in its entirety as its order. The Court
4    specifically finds that the failure to grant a continuance in this case would deny defense counsel
5    reasonable time necessary for effective preparation, taking into account the exercise of due
6    diligence. It further finds that the ends of justice served by granting the continuance outweigh
7    the best interests of the public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for August 25, 2016, at 10:00 a.m.
9    Time from the date of this order, up to and including August 25, 2016, is excluded from
10   computation of time within which the trial of this case must commence under the Speedy Trial
11   Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12             IT IS SO ORDERED.
13   Dated: July 29, 2016
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      Stipulation to Continue                          -3-                                       13-53 MCE
